IN THE UNITED STATES DISTRICT
FOR THE SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------x                             14-CR-00460

UNITED STATES OF AMERICA,                                     :
                                                              :        Notice of Lien and
                                                              :        Memorandum of Law
v.                                                            :
                                                              :
BNP PARIBAS, S.A.,                                            :
                                                              :
Defendants                                                    :

---------------------------------------------x




                       NOTICE OF LIEN AND MEMORANDUM OF LAW


Marilyn Wiederspan, by and through undersigned counsel, respectfully requests that this court

accept filing of this lien and as grounds thereof states as follows:


     1. Marilyn Wiederspan, (“Wiederspan”), a United States Citizen, has a judgment against the

        Republic of Cuba (“Cuba”). Her judgment against Cuba is for the extra judicial torture

        and assassination of her father. The United States of America (U.S.A) filed numerous

        documents in this matter which allege BNP Paribas’, S.A’s. (“Paribas”) unlawful actions

        and business dealings with the Republic of Cuba.

     2. Paribas is scheduled to forfeit to USA approximately $1.7 Billion U.S Dollars due to its

        unlawful dealings with Cuba. There is reason to believe that a substantial portion of these

        monies, if not the complete forfeiture amount, is actually funds which belonged to the

        government of Cuba. See USA v Paribas Information and Statement of Facts, attached as

        Exhibit “A”.
3. The “Wiederspan” judgment was issued by a Florida state court. The documents relating

   to such judgment are attached hereto as composite Exhibit “B”. The judgment is in the

   amount of Sixty Three Million Six Hundred Thirty Thousand Five Hundred Thirty Four

   Dollars and 37/100 ($63,630,534.37) together with 4.570% post judgment interest as of

   January 11, 2012.

4. Mrs. Wiederspan has recently filed a complaint to domesticate the judgment in the

   Southern District of South Florida (“SDSF”) Enclosed as Exhibit “C” is proof of filing in

   SDSF Wiederspan also intends to file by February 3,2015, a complaint to domesticate the

   judgment in the Southern District of New York (SDNY).

5. Wiederspan has become aware through public records that Paribas has agreed to settle

   with USA and has deposited approximately ($8,900,000,000.00) Eight Billion Nine

   Hundred Million U.S Dollars in the United States Treasury suspense account.

6. To the extent that title to this money has not yet vested in the United States, and that clear

   title will not vest until Sentencing, February 3, 2015, Mrs. Wiederspan notifies this Court

   and all parties with interest in such monies, that she has a judgment lien against the

   Republic of Cuba. And claims an interest to the proceeds that were deposited in the U.S

   Treasury suspense account. See Federal Consent Order in USA v. Paribas BPP, 14 CR

   460, attached hereto and made a part hereof as Exhibit “D”. It is our understanding that

   the sentencing might be adjourned until April 15, 2015.

7. Mrs. Wiederspan creates this lien under 28 U.S Code 3201. The lien is based on the

   Florida Court judgment attached hereto. Wiederspan v. Cuba et al. 10-34487 CA 23, 11th

   Judicial Circuit Court, Miami-Dade County, Florida.
8. Wiederspan, is attempting to comply with all federal and State of New York requirements

   regarding registration and domestication of the Florida State court judgment. Title 21

   U.S.C. § 853 (n)(1) and (2) set forth the procedure for asserting, in an ancillary

   proceeding, a third-party claim with respect to property subject to a criminal order of

   forfeiture:


           (1) Following the entry of an order of forfeiture under this section, the United
               States shall publish notice of the order and of its intent to dispose of the
               property in such manner as the attorney General may direct. The government
               may also, to extent practicable, provide direct written notice to any person
               known to have alleged an interest in the *180 property that is the subject of
               the order of forfeiture as a substitute for published notice as to those persons
               so notified. (2) Any person, other than the defendant, asserting, a legal interest
               in property which has been ordered forfeited to the United States pursuant to
               this section may, within thirty days of the final publication of notice or his
               receipt of notice under paragraph (1), whichever is earlier, petition the court
               for a hearing to adjudicate the validity of his alleged interest in the property….

           21 U.S.C. § 853 (n) (1), (2); DSI Associates LLC V.V.S., 496 F.3d 175 (2nd Cir
           2007).

9. In accordance with 21 U.S.C. § 853 (n) (1), Wiederspan is willing to petition the court for

   a hearing to adjudicate the validity of her alleged interest in the funds. However, an

   ancillary proceeding has not been initiated and Mrs. Wiederspan doubts that a petition

   would be required at this point in the proceedings.

10. The New York Code does clarify a judgment creditor’s rights in personal property.

   N.Y.CVP.LAW §5202. In section (a) Execution of Creditor’s Rights, it indicates that,


           (A) “Where a judgment creditor has delivered an execution to a sheriff, the
               judgment creditor’s rights in a debt owed to the judgment debtor or in an
               interest of the judgment debtor in personal property, against which debt or
               property the judgment may be enforced, are superior to the extent of the
               amount of the execution to the rights of any transferee of the debt or
               property.”
11. If required by this court, the judgment creditor, Wiederspan, intends to deliver an

   execution to a sheriff, to formally continue to assert her rights and interest in the personal

   property in question namely, the monies in the Department of Treasury suspense account.

   Wiederspan is also familiar with N.Y Civil Prac. L & R. 5223, which allows judgment

   creditors to,


           (B) “At any time before a judgment is satisfied or vacated, the judgment creditor
               may compel disclosure of all matter relevant to the satisfaction of the
               judgment, by serving upon any person a subpoena, which shall specify all of
               the parties to the action, the date of the judgment, the court in which it was
               entered, the amount of the judgment and the amount then due thereon, and
               shall State that false swearing or failure to comply with the subpoena is
               punishable as a contempt of court. N.Y. Civil. Prac. L. & R. 5223.”

12. The lien created by this notice attaches to any cause of action of the Republic of Cuba

   and related entities, and their original rights and interest to the money or property under

   any judgment subsequently procured in this action or proceeding.

13. No compromise, dismissal, settlement, or satisfaction of this action or proceeding or any

   of the rights of the Republic of Cuba and related entities to money or property under any

   judgment procured in this action or proceeding may be entered into by or on behalf of

   that person, and that person may not enforce any rights to the money or property under

   any judgment procured in this action or proceeding by a writ or otherwise, unless one of

   the following requirements is satisfied:


   (A) The prior approval by order of the court in this action or proceeding has been

       obtained;

   (B) The written consent of the judgment creditor has been obtained or that person has

       released the lien; or
(C) The money judgment of Marilyn Wiederspan is satisfied.




                                                                /s William J. Sanchez

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